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                      IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


JAMES MATHIS, Individually and on                                                  PLAINTIFF
behalf of All Others Similarly Situated


vs.                                   No. 5:16-cv-94-RCL


STUART PETROLEUM TESTERS, INC.; and                                              DEFENDANTS
KIRK YARIGER, BRYAN POST and BRUCE KOCH,
Each Individually and as an Officer of
Stuart Petroleum Testers, Inc.


                                NOTICE OF SETTLEMENT


       The purpose of this Notice of Settlement is to apprise the Court that Plaintiff and

Defendants have reached a settlement in principle that will resolve all claims asserted

by Plaintiff. The parties are in the process of finalizing settlement terms and expect to

file the necessary settlement and dismissal papers with the Court within thirty (30) days

from the filing of this Notice of Settlement.

                                                       Respectfully submitted,

                                                       JAMES MATHIS, Individually and on
                                                       behalf of all Others Similarly
                                                       Situated, PLAINTIFF

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                               CERTIFICATE OF SERVICE
        I, Josh Sanford, do hereby certify that a true and correct copy of the foregoing
NOTICE was electronically filed with the Clerk for the U.S. District Court, Western
District of Texas, San Antonio Division, on the date imprinted by the CM/ECF system,
using the Electronic Case Filing system of the Court, and that the attorneys of record
below are registered with the Clerk of the Court to receive electronic notification thereof:
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                                                      /s/ Josh Sanford
                                                      Josh Sanford




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